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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

C.C., through his natural mother and            )
guardian, MELANIE GINNEVER,                     )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )           No. 4:16CV01271 ERW
                                                )
SUZUKI MANUFACTURING OF                         )
AMERICA CORPORATION, et al.,                    )
                                                )
               Defendants.                      )

                               MEMORANDUM AND ORDER

       This matter comes before the Court on Defendants Suzuki Manufacturing of America

Corporation and Suzuki Motor Corporation’s Motion for Summary Judgment on All Counts of

Plaintiff’s Amended Complaint [110] and Defendants Suzuki Manufacturing of America

Corporation and Suzuki Motor Corporation’s Motion for Summary Judgment on the Issue of

Punitive Damages [115].

I.     BACKGROUND

       This lawsuit originated when Plaintiff C.C. (“Plaintiff”) filed a complaint in the Eastern

District of Missouri against Suzuki Motor of America, Inc. (“SMAI”) and Suzuki Manufacturing

of America Corporation (“SMAC”). On June 21, 2017, Plaintiff filed an amended complaint

removing SMAI as a defendant and adding Suzuki Motor Corporation (“SMC”). In his amended

complaint, Plaintiff alleged SMAC and SMC were negligent and the ATV sold by Defendants

was in a defective condition and unreasonably dangerous when the left handlebar grip of a

Suzuki ATV Plaintiff was driving came off, injuring Plaintiff. Defendants now seek summary

judgment on all counts of Plaintiff’s complaint and Plaintiff’s claim for punitive damages.



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           A.      Uncontroverted Facts

           At the time of the crash, on July 19, 2015, Plaintiff was 14 years old. ECF No. 114, ¶ 2,

141, ¶ 2. Plaintiff was operating a 2013 Suzuki KingQuad ATV (“Subject ATV”) when he hit a

tree root and tipped to the left. ECF No. 114, ¶ 2, 141, ¶ 2.

           SMAI is a wholly-owned subsidiary of SMC. ECF No. 142, ¶ 5, 158, ¶ 5. SMAI is the

sole distributor of Suzuki ATVs in the continental United States.1 ECF No. 142, ¶ 6, 158, ¶ 6.

SMAC is owned by two entities, SMC and SMAI. ECF No. 142, ¶ 7, 158, ¶ 7. SMC owns 20%

of SMAC. ECF No. 142, ¶ 8, 158, ¶ 8. SMAI (which is owned 100% by SMC) owns 80% of

SMAC. ECF No. 142, ¶ 9, 158, ¶ 9.

           SMAC was responsible for the manufacture of the Subject ATV on June 22, 2012. ECF

No. 114, ¶ 4, 141, ¶ 4. The Subject ATV weighed 615 pounds, and its tires were 25 inches tall.

ECF No. 114, ¶ 4, 141, ¶ 4. SMC was responsible for the design of the Subject ATV. ECF No.

114, ¶ 5, 141, ¶ 5. On June 22, 2012, the Subject ATV was sold to American Suzuki Motor

Corporation (“ASMC”).2 ECF No. 114, ¶ 7, 141, ¶ 7. On July 11, 2012, ASMC sold the Subject

ATV to Big St. Charles Motorsports in St. Charles, Missouri. ECF No. 114, ¶ 7, 141, ¶ 7. In

September 2012, Big St. Charles Motorsports sold the Subject ATV to the first original retail

owner. ECF No. 114, ¶ 8, 141, ¶ 8. In December 2013, the first original retail owner traded it

back to Big St. Charles Motorsports. ECF No. 114, ¶ 9, 141, ¶ 9. On January 18, 2014, Tom

Jones, Plaintiff’s uncle, purchased the Subject ATV from Big St. Charles Motorsports. ECF No.

142, ¶ 20, 158, ¶ 20. At the time of purchase, the Subject ATV had 311 miles on it. ECF No.

114, ¶ 11, 141, ¶ 11. In September 2015, the mileage meter registered 875 miles. ECF No. 114, ¶

11, 141, ¶ 11.


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    At the time the Subject ATV was sold, SMAI was not in existence. ASMC was the distributor.
2
    ASMC is no longer in business.

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       The warning labels on the Subject ATV at the time of manufacture warned: (a) to never

operate the ATV if under the age of 16 years old; (b) to never carry passengers; and (c) to always

use an approved helmet and protective gear while operating the ATV. ECF No. 114, ¶ 12, 141, ¶

12. At the time of the crash, Plaintiff was under the age of 16 years old, carrying a passenger,

J.J., neither of whom was wearing a helmet. ECF No. 114, ¶ 13, 141, ¶ 13. Plaintiff never

reviewed the warnings on the ATV, in the Owner’s Manual or in the Tips and Practice Guide.

ECF No. 114, ¶ 14, 141, ¶ 14. Plaintiff’s aunt, Christina Jones, taught him to operate the ATV

but did not go over any of the warning labels or show him the owner’s manual. ECF No. 114, ¶

14, 141, ¶ 14.

       A few days before the crash occurred, Plaintiff had gone to Tom and Christina Jones’

property in Silva, Missouri. ECF No. 114, ¶ 15, 141, ¶ 15. The weekend of July 19, 2015,

Plaintiff, along with his cousins, J.J. and A.J., rode the ATV, separately and in pairs, with the

permission of Mr. and Mrs. Jones. ECF No. 114, ¶ 16, 141, ¶ 16. On the day of the crash, July

19, 2015, Plaintiff had ridden 20 times on the ATV. ECF No. 114, ¶ 17, 141, ¶ 17. The crash

occurred in a creek bed on Mr. and Mrs. Jones’ property. ECF No. 114, ¶ 18, 141, ¶ 18. Plaintiff

and J.J. were the only witnesses to the crash. ECF No. 114, ¶ 18, 141, ¶ 18.

       The boys began operating the ATV near the house and headed toward the creek bed. ECF

No. 114, ¶ 19, 141, ¶ 19. Plaintiff testified he drove the ATV toward the creek at five miles per

hour, with J.J. behind him on the seat. ECF No. 114, ¶ 20, 141, ¶ 20. He further testified, when

they got to the top of the creek, he applied the brakes and entered the creek at two to three miles

per hour. ECF No. 114, ¶ 22, 141, ¶ 22. Plaintiff testified he hit a rock in the creek with the

ATV’s left front tire, causing the ATV to go to the right. ECF No. 114, ¶ 24, 141, ¶ 24. He

testified when he tried to straighten out the ATV, his right front tire hit and ramped over a tree



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root. ECF No. 114, ¶ 24, 141, ¶ 24. The ATV tipped over onto its left side. ECF No. 142, ¶ 34,

158, ¶ 34. Plaintiff testified the left grip came off when the ATV tipped over. ECF No. 142, ¶ 36,

158, ¶ 36. He saw the left grip in his left hand and then blacked out. ECF No. 142, ¶ 37, 158, ¶

37.

        J.J. testified after the ATV entered the creek, he felt unsteady, closed his eyes, and

jumped off the back of the ATV while it was still in the creek. ECF No. 114, ¶ 31, 141, ¶ 31. J.J.

saw the left handlebar grip detached from the ATV, off to the side, on the ground. ECF No. 142,

¶ 42, 158, ¶ 42. He went to get help. ECF No. 142, ¶ 43, 158, ¶ 43. Mr. Jone’s arrived to the

scene shortly after and removed the Subject ATV off of Plaintiff. ECF No. 142, ¶ 44, 158, ¶ 44.

When Mr. Jones pulled the ATV off of Plaintiff, he saw the handlebar come out of a hole in

C.C’s pants. ECF No. 142, ¶ 46, 158, ¶ 46. Mr. Jones thought the hole in Plaintiff’s groin looked

like the handlebar. ECF No. 142, ¶ 47, 158, ¶ 47. Blood started spurting out once the handlebar

removed from Plaintiff’s groin. ECF No. 142, ¶ 48, 158, ¶ 48. Mr. Jones or J.J. picked up the left

grip and Mr. Jones slid it back on the ATV. ECF No. 142, ¶ 49, 158, ¶ 49. There was blood on

the grip when it was put back on the ATV. ECF No. 142, ¶ 50, 158, ¶ 50. Mr. Jones did not

notice any residue on the handlebar or grip. ECF No. 142, ¶ 51, 158, ¶ 51. Prior to this accident,

Plaintiff and Tom Jones were not aware the ATV had been involved in any other accidents.3 ECF

No. 142, ¶ 21, 158, ¶ 21. After the incident, Plaintiff was diagnosed by his therapist with Post-

Traumatic Stress Disorder. ECF No. 142, ¶ 54, 158, ¶ 54.

        SMAC’s current process for assembling ATVs involves multiple stations or teams. ECF

No. 114, ¶ 33, 141, ¶ 33. The handlebar, including the grip, is assembled with Team One. ECF

No. 114, ¶ 34, 141, ¶ 34. The grips on the ATVs are adhered to the handlebars with glue during


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 Plaintiff’s fact states the ATV had never been in an accident. However, the cited deposition testimony only
supports that Tom Jones and Plaintiff were unaware of any prior accidents.

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assembly. ECF No. 114, ¶ 35, 141, ¶ 35. The glue used to attach the grips on the Subject ATV,

as well as on other model ATVs since SMAC opened in approximately 2002, was TB1521. ECF

No. 114, ¶ 36, 141, ¶ 36.4

         On July 26, 2012, SMAC issued an engineering change request to SMC for the glue for

the handlebars. ECF No. 142, ¶ 59, 158, ¶ 59. The reason for the glue change, as stated in the

ECR, was “Current glue (ThreeBond 1521) does not hold well to EPDM rubber grips. Proposed

glue (3M 4799) bonds to EPDM rubber. 3M 4799 is also black, making glue relatively

unnoticeable against grip and handlebar.” ECF No. 142, ¶ 61, 158, ¶ 61. On May 23, 2013, SMC

issued an Engineering Change Notice for SMAC to change from using TB1521 glue to 3M-4799

glue, which SMAC started using on the production line in mid-August 2013. ECF No. 114, ¶ 36,

141, ¶ 36. This was a running change, meaning Suzuki decided to use up the remainder of the

TB1521 glue before implementing the change. ECF No. 142, ¶ 62, 158, ¶ 62. Suzuki did not

send any notice to any owners or dealers of ATVs concerning TB1521. ECF No. 142, ¶ 65, 158,

¶ 65.

         The procedure for applying the TB1521 glue to the grips was addressed in SMAC’s

Operation Standard Work documents. ECF No. 114, ¶ 37, 141, ¶ 37. Beginning June 22, 2012,

the TB1521 glue was first applied inside the grip using a brush and then applied around the end

of the handlebar.5 ECF No. 114, ¶ 37, 141, ¶ 37. The grip is then slid onto the handlebar. ECF

No. 114, ¶ 38, 141, ¶ 38. SMAC has never used any kind of mechanical securing device to hold

grips to handlebars.6 ECF No. 142, ¶ 16, 158, ¶ 16. Prior to the sale of the subject ATV, SMAC

did not conduct any tests to determine how much force, if any, it takes for grips to come off of


4
  The parties dispute how much TB1521 glue, if any, was used on the grips of the Subject ATV.
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  Plaintiff asserts there is no evidence this policy was followed for the Subject ATV.
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  In this fact, Plaintiff refers to Suzuki. The Court has changed it to state SMAC because that is what the cited
deposition testimony supports.

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handlebars.7 ECF No. 142, ¶ 17, 158, ¶ 17.

         During the assembly process, each team inspects the work performed at their respective

station before the ATV goes to the next team’s station. ECF No. 114, ¶ 39, 141, ¶ 39. During the

process, the grips are inspected by Team One and Team Two. ECF No. 114, ¶ 40, 141, ¶ 40.

Once assembly is complete, the ATV proceeds to the Quality Control Department where the

grips are inspected and twisted to see if there is any movement or play.8 ECF No. 114, ¶ 41, 141,

¶ 41. If there is any movement in the grip, the ATV is placed to the side to sit overnight. ECF

No. 114, ¶ 42, 141, ¶ 42. If the next morning there is still movement in the grip, an entirely new

grip is installed, which involves removing the old grip with degreaser and a screwdriver. ECF

No. 114, ¶ 42, 141, ¶ 42.

         The ATV then moves to the second quality control inspection step where a line operator

sits on the ATV and runs it on a machine at certain speeds. ECF No. 114, ¶ 43, 141, ¶ 43.The

operator will grip the handlebars and check for any movement. ECF No. 114, ¶ 43, 141, ¶ 43. If

there is any movement, the ATV will be placed on the side to sit overnight and go through the

same procedure as during the previous phase. ECF No. 114, ¶ 43, 141, ¶ 43.

         For each ATV manufactured at SMAC, a document entitled Final Inspection Check Sheet

is prepared and used to evaluate the ATV at all stages of the assembly line. ECF No. 114, ¶ 44,

141, ¶ 44. An ATV cannot be packed and shipped from SMAC until it receives final approval

stamps following inspection from both quality control inspection stations referred to above. ECF

No. 114, ¶ 44, 141, ¶ 44. The final inspection check sheets for 1,000 model ATVs assembled

prior to the Subject ATV do not reflect a grip either came off or was loose on any of the ATVs.


7
  In this fact, Plaintiff refers to Suzuki. The Court has changed it to state SMAC because that is what the cited
deposition testimony supports.
8
  Defendants include in this fact this occurs 2.5 hours or more later. This is not supported by the deposition cited so
the Court has not included it in the statement of uncontroverted facts.

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ECF No. 114, ¶ 46, 141, ¶ 46. At no point in SMAC’s history has anyone in the Quality Control

Department ever seen a grip come off.9 ECF No. 141, ¶ 47.

         The Quality Control Team Leader will also perform a Global Customer Audit and a Daily

Check. ECF No. 114, ¶ 48, 141, ¶ 48. The Quality Control Team Leader will randomly pull one

out of 60 ATVs off of each line to inspect it. ECF No. 114, ¶ 48, 141, ¶ 48. This inspection

involves taking off components to ensure the correct assembly of the ATV. ECF No. 114, ¶ 48,

141, ¶ 48. This inspection includes checking the grips for any movement. ECF No. 114, ¶ 48,

141, ¶ 48. For the Daily Check, the Quality Control Team Leader takes another completed ATV

out of the 60 units assembled for another SMAC technician to perform another check similar to

the Global Customer Audit. ECF No. 114, ¶ 49, 141, ¶ 49.

         The Quality Control process for grips has been in place at SMAC since it began

manufacturing in 2002. ECF No. 114, ¶ 50, 141, ¶ 50. Although there have been instances when

the ATV got to the end of the assembly line where a grip had some movement or play, no one

from SMAC has ever seen a grip just slide off a handlebar after glue has been applied at

SMAC.10 ECF No. 114, ¶ 50, 141, ¶ 50. Plaintiff’s action is the only claim or lawsuit SMAC has

ever received concerning allegations of a grip coming off the handlebars and causing injury on

the Subject ATV being operated by Plaintiff.11 ECF No. 114, ¶ 51, 141, ¶ 51. Of the 2,400 model

year 2013 LT-F400FL3 ATVs manufactured by SMAC, SMAC has received no other claims or




9
  Defendants’ fact states no one in SMAC’s Quality Control Department has ever been able to physically remove a
grip from the handlebar by twisting it. However, the cited deposition states “We have never ever seen a grip come
off.”
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   Plaintiff disputes this fact by citing to four warranty claims submitted to SMAI. This does not dispute the fact
submitted by Defendants that SMAC has never seen a grip slide off the handlebar.
11
   Plaintiff disputes this fact stating SMAC does not handle warranty disputes. However, this does not make the fact
untrue. Plaintiff also states SMAC was aware of one of the warranty claims but in the cited deposition testimony, the
witness states he only became aware of the warranty claim, because it was produced by another party in this
litigation.

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lawsuits concerning grips coming off the handlebars and causing an injury.12 ECF No. 114, ¶ 52,

141, ¶ 52.

II.      STANDARD

      A court shall grant a motion for summary judgment only if the moving party shows “there is

no genuine dispute as to any material fact and that the movant is entitled to a judgment as a

matter of law.” Fed. R. Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). By

definition, material facts “might affect the outcome of the suit under the governing law,” and a

genuine dispute of material fact is one “such that a reasonable jury could return a verdict for the

nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). If the non-moving

party has failed to “make a showing sufficient to establish the existence of an element essential

to that party’s case, . . . there can be ‘no genuine issue as to any material fact,’ since a complete

failure of proof concerning an essential element of the non-moving party’s case necessarily

renders all other facts immaterial.” Celotex, 477 U.S. at 322-23.

         The moving party bears the initial burden of proof in establishing “the non-existence of

any genuine issue of fact that is material to a judgment in his favor.” City of Mt. Pleasant, Iowa

v. Associated Elec. Co-op., Inc., 838 F.2d 268, 273 (8th Cir. 1988). If the moving party meets

this initial burden, the non-moving party must then set forth affirmative evidence and specific

facts demonstrating a genuine dispute on the specific issue. Anderson, 477 U.S. at 250. When the

burden shifts, the non-moving party may not rest on the allegations in its pleadings, but, by

affidavit and other evidence, must set forth specific facts showing a genuine dispute of material

fact exists. Fed. R. Civ. P. 56(c)(1); Stone Motor Co. v. Gen. Motors Corp., 293 F.3d 456, 465

(8th Cir. 2002). The non-moving party must demonstrate sufficient favorable evidence that could


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  Plaintiff disputes this fact for the same reasons as the last fact. For the same reasoning, the Court finds it is
undisputed.

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enable a jury to return a verdict for it. Anderson, 477 U.S. at 249. “If the non-moving party fails

to produce such evidence, summary judgment is proper.” Olson v. Pennzoil Co., 943 F.2d 881,

883 (8th Cir. 1991).

         In ruling on a motion for summary judgment, the Court may not “weigh the evidence in

the summary judgment record, decide credibility questions, or determine the truth of any factual

issue.” Kampouris v. St. Louis Symphony Soc., 210 F.3d 845, 847 (8th Cir. 2000). The Court

instead “perform[s] only a gatekeeper function of determining whether there is evidence in the

summary judgment record generating a genuine issue of material fact for trial on each essential

element of a claim.” Id. The Court must view the facts and all reasonable inferences in the light

most favorable to the nonmoving party. Reed v. City of St. Charles, 561 F.3d 788, 790 (8th Cir.

2009).

III.     DISCUSSION

         In their motions for summary judgment, Defendants argue Plaintiff’s strict liability

manufacturing and design defect claims and negligence claims fail because he lacks admissible

evidence to establish a defect that actually caused his injuries. Consequently, Defendants state

Plaintiff also cannot establish punitive damages.

         A.     Manufacturing and Design Defect Claims

         To establish a strict products liability claim, a plaintiff must prove: (1) the defendant

transferred a product in the course of his business; (2) the product was used in a manner

reasonably anticipated; and (3) either the product was in a defective condition, unreasonably

dangerous when put to a reasonably anticipated use and the plaintiff was damaged as a direct

result of the defective condition as existed when it was sold or the product was unreasonably

dangerous when put to reasonably anticipated use without knowledge of its characteristics and



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 the plaintiff was damaged due to the lack of an adequate warning on the product. Mo. Rev. Stat.

 § 537.760. The plaintiff bears the burden to show the product was defective and the defect

 caused the plaintiff’s injury. Pritchett v. Cottrell, Inc., 512 F.3d 1057, 1063 (8th Cir. 2008). The

 fact of an injury alone is insufficient to prove a product was unreasonably dangerous. Bachtel v.

 TASER Intern., Inc., 747 F.3d 965, 973 (8th Cir. 2014).

        Defendants argue Plaintiff fails to offer any evidence of a defect in the Subject ATV, a

 defect proximately caused his injuries, or a failure to warn proximately caused his injuries.

 According to Defendants, because Plaintiff cannot establish an actual defect, he cannot establish

 proximate cause and he cannot establish Defendants failed to warn of a danger that has not been

 proven to exist. Defendants repeatedly assert evidence of an injury is not evidence of a defect.

 However, Plaintiff has submitted evidence of an actual defect, separate and apart from his injury.

 The actual defect is the grip coming off the handlebar. The evidence submitted by Plaintiff that

 the grip came off the handlebar includes the testimony of Plaintiff, Mr. Jones, and J.J., who all

 state they saw the grip not attached to the handlebar. When the grip came off, how it came off

 and whether it could have been prevented are all factual issues in dispute. Plaintiff has submitted

 sufficient evidence to create a material factual dispute of an actual defect to survive summary

 judgment.

        Defendants also argue to establish an actual defect Plaintiff needs expert testimony and

 Defendants have challenged Plaintiff’s experts pursuant to Federal Rule of Civil Procedure 702

 in their separately filed Motions to Exclude Experts. Thus, Defendants’ argument is after the

 experts are dismissed pursuant to their motions, Plaintiff will have no way to establish an actual

 defect in the Subject ATV. The Eastern District of Missouri has dismissed and the Eighth Circuit

 has upheld dismissals of cases after experts have been dismissed finding the plaintiff cannot



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 establish a defect without the expert, but it is not a requirement. See Shaffer v. Amada America,

 Inc., 335 F. Supp. 2d 992,998 (E.D. Mo. 2003) (“Without expert testimony, we are left with

 evidence of an accident. The fact that an accident happened, standing alone, does not establish a

 case of product defect.”); Menz v. New Holland N. Am., Inc., 507 F.3d 1107, 1111 (8th Cir.

 2007) (finding Missouri law does not require expert testimony unless “the lay jury does not

 possess the experience of knowledge of the subject matter sufficient to enable them to reach an

 intelligent opinion without help.”).

        In Shaffer, the product at issue was a press brake machine that crushed the plaintiff’s

 fingers when the machine cycled upward. 355 F. Supp. 2d at 993. The district court held expert

 testimony to establish the defect was required because it involved “a complex piece of industrial

 machinery.” Id. at 998. Similarly, in Menz, the product was a front-end loader tractor that rolled

 over onto the plaintiff requiring amputation of his left arm. 507 F.3d at 1109. The Eighth Circuit

 required expert testimony, holding “the products at issue in this case are fairly technical and

 complex, and are not the type of machinery commonly utilized by the typical lay juror.” Id. at

 1112. These cases are unlike the case presently before the Court. Here, the product at issue is an

 ATV, with which many lay jurors have had experience. Further, the defect concerns a simple

 handlebar grip, not a complex subject such as the engine.

        Whether or not the ATV was defective when the grip came off is something a lay juror

 can determine without the help of an expert. Defendants present the case as involving complex

 industrial manufacturing and design processes, crash dynamics and kinetics. But the evidence

 submitted to the Court with this motion shows otherwise. Attachment of the grip to the handlebar

 required an individual to brush glue on the handlebar and slide the grip onto it. This is not a

 complex industrial manufacturing process. The accident itself also is not complex. Common



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 sense allows the jurors to determine if Plaintiff was driving too fast through the creek, or

 mishandled the ATV in some way. Plaintiff does not need experts to present his case to the jury.

        Because Defendants’ arguments about causation are predicated on the absence of an

 actual defect, these arguments fail as well. Defendants’ motion on these points will be denied.

        B.       Failure to Warn Claims

        Missouri recognizes a manufacturer has a duty to warn users of its products which are

 inherently dangerous or dangerous because of the use to which they are put. Spuhl v. Shiley, Inc.,

 795 S.W.2d 573, 579 (Mo. Ct. App. 1990). In order to prevail on a strict liability failure to warn

 theory, Plaintiff must establish Defendants sold the Subject ATV in the ordinary course of

 business, the Subject ATV was unreasonably dangerous at the time of sale when used as

 reasonably anticipated without knowledge of its characteristics, Defendants did not give

 adequate warning of the danger, the product was used in a reasonably anticipated manner and

 Plaintiff was damaged as a result of the Subject ATV being used without an adequate warning.

 Tuttle v. Steris Corp., No. 4:12-CV-1487 CEJ, 2014 WL 1117582 at *6 (E.D. Mo. Mar. 20,

 2014). To establish causation, Plaintiff must show the Subject ATV caused Plaintiff’s injuries

 and he must show a warning would have altered his behavior. Id. Under Missouri law, there is a

 rebuttable presumption a warning will be heeded. Menz, 507 F.3d at 1112. This presumption

 arises when there is sufficient evidence the plaintiff did not know of the specific danger

 involved. Id.

        In a negligence failure to warn claim, a plaintiff must show the defendant had a duty to

 protect the plaintiff from injury, the defendant failed to perform this duty and the defendant’s

 failure resulted in injury to the plaintiff. Bachtel v. Taser Intern. Inc., No. 2:11-CV-00069 JCH,

 2013 WL 317538 at *7 (E.D. Mo. Jan. 28, 2013) (citing Smith v. Brown & Williamson Tobacco



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 Corp., 275 S.W.3d 748, 800 (Mo. Ct. App. 2008)). Missouri law requires a plaintiff to make the

 same showing of proximate cause under negligence as under strict liability. Id.

        Defendants assert Plaintiff has failed to show the Subject ATV caused the injury and he

 has failed to show a warning would have altered the behavior of those involved in the accident.

 Defendants’ causation argument again rests on the argument Plaintiff has not established an

 actual defect. Because the Court addressed this issue supra, it will not address it again.

        Plaintiff has presented no evidence he would have heeded a warning had it been given. In

 fact, the evidence shows Plaintiff most likely would not have heeded a warning because he did

 not follow the warnings that were given; he was not wearing a helmet, was under the age of 16,

 and had a passenger on the ATV.

        Missouri law states a rebuttable presumption arises when there is sufficient evidence the

 plaintiff did not know of the specific danger involved. Menz, 507 F.3d at 1112. The rebuttable

 presumption assumes a reasonable person will act appropriately if given adequate information.

 Smith v. Brown & Williamson Tobacco Corp., 275 S.W.3d 748, 785 (Mo. Ct. App. 2008). For

 the presumption to apply, there must be a legitimate jury question whether the plaintiff knew of

 the specific danger that caused the injury. Id. The term “presumption” means “makes a prima

 facie case, i.e., creates a submissible case that the warning would have been heeded.” Id.

        Plaintiff has not submitted sufficient evidence he did not know of the specific danger

 involved, specifically whether the grip could come off of the ATV. There are no facts submitted

 to support his lack of knowledge of the risk of the grip coming off the handlebar. The only

 evidence Plaintiff raises to show he did not have knowledge of the risk is that Mr. Jones testified

 “he got the grips replaced immediately after the incident to ensure the safety of his family and to

 make sure this never happened again.” This does not show Plaintiff did not know of the specific



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 danger involved. Therefore, the rebuttable presumption does not apply. Without the rebuttable

 presumption, Plaintiff has not shown a warning would have altered his behavior. Thus, Plaintiff

 cannot establish causation and his claims for failure to warn, under both negligence and strict

 liability theories, fail. These claims will be dismissed.

        C.      Negligence Claims

        Defendants assert Plaintiff’s negligence claims against SMAC should be dismissed

 because Plaintiff fails to product competent evidence to establish the claim. Defendants argue

 Plaintiff has failed to introduce evidence of a defect in the Subject ATV and Plaintiff has failed

 to show the alleged defect in the gluing of the subject grip caused his injuries. Defendants’

 causation argument rests on the principle that because Plaintiff cannot show evidence of a defect,

 he cannot show evidence of causation.

        To establish negligence, as stated above, Plaintiff must show Defendant SMAC owed

 him a duty of care, SMAC breached that duty, and Plaintiff suffered an injury proximately

 caused by SMAC’s breach. Pippin v. Hill-Rom Co., Inc., 615 F.3d 886, 889 (8th Cir. 2010). The

 Court has already addressed Defendants’ arguments Plaintiff has not established a defect and

 determined there are material facts in dispute about the existence of a defect. This analysis does

 not change because the claim is under a negligence theory rather than strict liability. Therefore,

 the Court will deny Defendants’ motion as to negligence.

         D.     Punitive Damages

        Defendants argue Plaintiff cannot recover punitive damages where he has failed to

 establish his underlying claims of strict liability and negligence. This argument fails because the

 Court has determined Plaintiff has created disputes of material fact as to whether Defendants are

 liable. Second, Defendants argue Plaintiff’s punitive damages claim should be dismissed because



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 he cannot prove Defendants’ outrageous conduct due to evil motive or reckless indifference to

 the rights of others by clear and convincing evidence. According to Defendants, Plaintiff has

 failed to produce evidence Defendants knew of any actual defect in the Subject ATV,

 Defendants’ knowledge of prior similar occurrences, the absence of negligence on the part of

 anyone else or a knowing violation of a statute, regulation, or industry standard. All of these are

 factors in determining if punitive damages should be awarded.

        Punitive damages are submitted in a strict liability case if there is clear and convincing

 evidence the defendants placed into commerce an unreasonably dangerous product with actual

 knowledge of the product’s defect. Peters v. Gen. Motors Corp., 200 S.W.3d 1, 24 (Mo. Ct. App.

 2006). In a negligence case, punitive damages are submitted when the defendant knew or had

 information from which he should have known the alleged negligent conduct created a high

 degree of probability of injury showing complete indifference or conscious disregard for the

 safety of others. Coon v. Am. Compressed Steel, Inc., 207 S.W.3d 629, 637 (Mo. Ct. App. 2006).

 Under both negligence and strict liability theories, the plaintiff must show the defendant

 exhibited a complete indifference to or conscious disregard for the safety of others. Jone v.

 Coleman Corp., 183 S.W.3d 600, 610 (Mo. Ct. App. 2005).

        Conscious disregard or complete indifference means the person doing the act is conscious

 from the surrounding circumstances their conduct will naturally or probably result in injury.

 Peters, 200 S.W.3d at 24. “The clear and convincing standard requires evidence which instantly

 tilts the scales in the affirmative when weighed against evidence in opposition; evidence which

 clearly convinces the fact finder of the truth of the proposition to be proposed.” Coon, 207

 S.W.3d at 637. Factors to consider in weighing submission of punitive damages are if there are

 prior similar circumstances known to the defendant, if the event was likely to have occurred



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 absent negligence on the part of someone else, and if the defendant knowingly violated a statute,

 regulation or clear industry standard designed to prevent the injury that occurred. Lopez v. Three

 Rivers Elec. Co-op, Inc., 26 S.W.3d 151, 160 (Mo. 2000).

        There are material facts in dispute regarding punitive damages that prevent the Court

 from dismissing Plaintiff’s punitive damages claim. Whether Suzuki knew of the defect and

 whether Suzuki’s failure to conduct testing constitutes conscious disregard are two of the issues.

 Plaintiff has submitted facts suggesting Suzuki knew the glue was not adhering to the handlebar

 and the grip. Defendants assert the same evidence shows Suzuki made a glue change but not

 because the glue was not adhering. This is a question to be determined by the jury, not the Court.

 Because of the disputed material facts, the Court will deny Defendants’ Motion for Summary

 Judgment for punitive damages.

        Accordingly,

        IT IS HEREBY ORDERED that Defendants Suzuki Manufacturing of America

 Corporation and Suzuki Motor Corporation’s Motion for Summary Judgment on All Counts of

 Plaintiff’s Amended Complaint [110] is GRANTED, in part, and DENIED, in part. Plaintiff’s

 failure to warn claim against Defendants SMAC and SMC is DISMISSED, with prejudice.

        IT IS FURTHER ORDERED that Defendants Suzuki Manufacturing of America

 Corporation and Suzuki Motor Corporation’s Motion for Summary Judgment on the Issue of

 Punitive Damages [115] is DENIED.

        Dated this 14th Day of August, 2018.




                                                 E. RICHARD WEBBER
                                                 SENIOR UNITED STATES DISTRICT JUDGE



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